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   Control    Number          GOOG-DOJ-AT—-02512856

   All    Custodians          Google

   Custodian      :           Google

   Date/Time      Created     10/5/2021    12:47   AM

   Date/Time      Sent

   MODIFICATION        DATE   10/5/2021    12:47   AM

   File    Name   :
                              Poirot_Modeling_Design_Doc.
                              docx




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                              Poirot Modeling
                              Poirot Modeling Design
                                              Design Doc
                                                     Doc
                                               gTrade team
                                               gTrade team

     General Information
     General Information
         1. What
         1.  What does
                   does the
                         the model
                              model predict?
                                     predict?
     The model
     The         generates the
          model generates    the bid
                                 bid reduction
                                     reduction to
                                               to be
                                                  be applied
                                                     applied to
                                                             to DBM
                                                                DBM fixed
                                                                    fixed CPM
                                                                          CPM bids
                                                                              bids to
                                                                                   to maximize
                                                                                      maximize
     advertiser surplus.
     advertiser surplus.                                                                                        Commented [1]:
                                                                                                                Commented     [1]: so
                                                                                                                                   so this
                                                                                                                                      this only
                                                                                                                                           only works
                                                                                                                                                  works for
                                                                                                                                                         for fixed
                                                                                                                                                              fixed cpm?
                                                                                                                                                                    com? how
                                                                                                                                                                         how
                                                                                                                about opt
                                                                                                                about opt advertisers?
                                                                                                                          advertisers? and
                                                                                                                                         and if
                                                                                                                                              if not,
                                                                                                                                                 not, why
                                                                                                                                                      why not?
                                                                                                                                                            not?

        22.. How
               How and
                     and where
                         where isis the
                                    the prediction
                                         prediction used?
                                                     used?                                                      Commented [2]:
                                                                                                                Commented     [2]: For
                                                                                                                                    For opt,
                                                                                                                                         opt, Ali
                                                                                                                                               Ali wants
                                                                                                                                                    wants to to combine
                                                                                                                                                                combine itit with
                                                                                                                                                                             with
     The bid
     The   bid reduction
                reduction is
                          is applied
                             applied onon the
                                           the fixed
                                               fixed CPM
                                                     CPM bids
                                                           bids before
                                                                before the
                                                                       the internal
                                                                           internal DBM
                                                                                    DBM auction
                                                                                        auction is
                                                                                                is run.
                                                                                                   run.         HDMI:  Weihave
                                                                                                                anyway, so
                                                                                                                anyway,  so we
                                                                                                                            we are
                                                                                                                                  tothinkzakout
                                                                                                                                 are ok
                                                                                                                                      ok with
                                                                                                                                          with this
                                                                                                                                                      it.
                                                                                                                                                 this in
                                                                                                                                                          Fixed
                                                                                                                                                       in vi
                                                                                                                                                          v1
                                                                                                                                                                 is
                                                                                                                HDMI. We have to think about it. Fixed is 90% of DBM
                                                                                                                                                                    90% af   DBR

         3.. Contact
         3   Contact information
                      information (team/TL
                                  (team/TL email,
                                           email, wiki
                                                  wiki page).
                                                       page).
     gTrade. go/gtrade,
     gTrade.  go/gtrade, gtrade-core@google.com
                          gtrade-core@google.com


     Source
     Source of
            of Training
               Training Data
                        Data                                                                              |e
                                                                                                           Commented [3]:[3]: does
                                                                                                                              does this
                                                                                                                                   this rely
                                                                                                                                        rely on
                                                                                                                                             on running
                                                                                                                                                running long
                                                                                                                                                        long
                                                                                                           standing holdback
                                                                                                           standing holdback experiments?
                                                                                                                               experiments?
            1. How
            1. Howisis the
                       the training
                           training data
                                    data obtained?
                                         obtained?
                                                                                                                Commented [4]: yes. we have to explore
                                                                                                                 Commented [4]: yes. we have to explore
                                                                                                                Commented [5]: Eujin's suggestion: do this in the
                                                                                                                Commented [5]: Eujin's suggestion: do this in the
                                                                                                                code directly
                                                                                                                code directly rather
                                                                                                                              rather than
                                                                                                                                     than using
                                                                                                                                          using an
                                                                                                                                                an experiment
                                                                                                                                                   experiment

        2.2. Does
             Does itit correctly
     No conversion
     No
                       correctly handle
         conversion data
                       data used.
                             used.
                                  handle conversion
                                         conversion data
                                                    data (see
                                                         (see Conversion       ina)?
                                                              Conversion Handling)?
                                                                         Handling)?                       \     framework
                                                                                                                framework
                                                                                                                Commented [6]:
                                                                                                                Commented     [6]: why
                                                                                                                migration plan?
                                                                                                                migration plan?
                                                                                                                                   why not
                                                                                                                                       not use
                                                                                                                                           use flogs?
                                                                                                                                               flogs? is
                                                                                                                                                      is there
                                                                                                                                                         there aa


                                                                                                                Commented [7]:
                                                                                                                Commented       [7]: initially
                                                                                                                                      initially it
                                                                                                                                                it was
                                                                                                                                                   was because
                                                                                                                                                        because we we only
                                                                                                                                                                        only had
                                                                                                                                                                              had
        3.. Does
        3    Does it
                   it correctly
                      correctly handle
                                handle DBM
                                       DBM data
                                           data (see
                                                (see DBM
                                                     DBM Data
                                                         Data Seperation)?
                                                              Seperation)?                                      20%
                                                                                                                2     data (that
                                                                                                                 0% data   (that isis no
                                                                                                                                      no longer
                                                                                                                                          longer thethe case).
                                                                                                                                                        case). We
                                                                                                                                                                We also
                                                                                                                                                                     also have
                                                                                                                                                                           have toto
     Yes. This pipeline only operates on DBM data.                                                              flog a
                                                                                                                flog a bunch
                                                                                                                       bunch ofof fields
                                                                                                                                  fields before
                                                                                                                                           before we we can
                                                                                                                                                         can switch
                                                                                                                                                              switch to
                                                                                                                                                                      to flogs.
                                                                                                                                                                         flogs.
     Yes. This  pipeline only operates on DBM data.

        4.. How
        4    How are
                   are bad
                        bad data
                            data handled
                                  handled (e.g.,
                                           (e.g., when  certain days
                                                  when certain     days of
                                                                        of data
                                                                           data are
                                                                                are deemed
                                                                                    deemed unusable)?
                                                                                           unusable)?
     We can
     We  can easily
              easily exclude
                      exclude bad
                               bad days
                                    days through
                                         through the
                                                   the borg
                                                       borg files.
                                                             files.

        5.. Are
        5   Are the
                 the training
                      training data
                                data stored?
                                       stored?
                a. If
                a.   If so,
                        so, does
                            does itit satisfy
                                      satisfy wipeout compliance?
                                              wipeout compliance?
     No user
     No user information
             information is is stored.
                               stored.

        66.. How
             How frequently
                 frequently does
                            does the
                                 the training
                                     training data
                                              data get
                                                   get refreshed?
                                                       refreshed?
     Every day.
     Every  day.

        7.. What
        7   What happens
                   happens when    training data
                            when training    data is
                                                   is stale?
                                                      stale?
     We get
     We get alerts
            alerts when
                   when any
                         anyjob  files or
                             job files  or the
                                           the model
                                                model file
                                                        file is
                                                             is stale.
                                                                stale.                                          Commented [8]:
                                                                                                                Commented      [8]: ifif you're
                                                                                                                                         you're relying
                                                                                                                                                relying on
                                                                                                                                                         on the
                                                                                                                                                             the filepusher
                                                                                                                                                                 filepusher
                                                                                                                alerts, those
                                                                                                                alerts, those are
                                                                                                                              are somewhat
                                                                                                                                   somewhat unreliable.
                                                                                                                                                  unreliable.

             .                                                                                                  Commented [9]:
                                                                                                                Commented     [9]: Do
                                                                                                                                   Do you have other
                                                                                                                                      you have other suggestions?
                                                                                                                                                     suggestions?
     Training Algo rithm
     Training Algorithm                                                                                         happy    incorporate
                                                                                                                      to incorporate
                                                                                                                happy to
            1.
            1. Howisis the
               How     the model trained?
                           model trained?                                                                       Commented [10]:
                                                                                                                Commented      [10]: varz
                                                                                                                                     varz checker
                                                                                                                                          checker to
                                                                                                                                                  to check
                                                                                                                                                     check if
                                                                                                                                                           if the
                                                                                                                                                              the load
                                                                                                                                                                  load
                                                                                                                time is
                                                                                                                time is recent
                                                                                                                        recent enough
                                                                                                                               enough




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                                                                                                                               GOOG-D0J-AT-02512856

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     Once the
     Once   the above
                above model
                        model is
                              is fit
                                 fit separately
                                     separately for
                                                for each
                                                    each exchange,
                                                         exchange, we
                                                                   we pick
                                                                      pick the
                                                                           the x
                                                                               x that
                                                                                 that maximizes
                                                                                      maximizes surplus
                                                                                                surplus
     for each
     for each advertiser.
               advertiser. |                                                                            _-—[  Commented [14
                                                                                                         _--{Commented  [12]: so
                                                                                                                              so one
                                                                                                                                 one model
                                                                                                                                     model per
                                                                                                                                           per exchange?
                                                                                                                                               exchange?
                                                                                                               Commented [13]:
                                                                                                               Commented [13]: yes
                                                                                                                               yes
     The plot
     The  plot below
               below shows
                     shows surplus
                             surplus change
                                     change vs
                                            vs bid
                                               bid multiplier
                                                   multiplier (x)
                                                              (x) at
                                                                  at the
                                                                     the exchange
                                                                         exchange level
                                                                                  level (i.e.,
                                                                                        (i.e., ignoring
                                                                                               ignoring
     the advertiser
     the advertiser term)
                    term) for
                          for 4
                              4 exchanges.
                                exchanges.


            QoOo   ~




      Zo
      o
         |
        a
        c
        w
      ay
       oO
       w
      =
       20
       5
      w
                                            —    Adx
                                               OpenX
                                               OpenX
                                            =— Pub
                                            —  Pubmatic
                                                   matic
            Q                                  Improve Digital
                                               Improve  Digital
            ‘o
            In
                               1          1         1          1
                       0.6
                       0.6   0.7
                             0.7        0.8
                                        0.8       0.9
                                                  0.9        1.0
                                                             1.0
                                   Bid Multiplier
                                   Bid Multiplier


     The plot
     The  plot below
               below shows
                     shows the
                           the histogram
                               histogram of
                                         of bid
                                            bid multipliers
                                                multipliers at
                                                            at the
                                                               the advertiser
                                                                   advertiser level
                                                                              level on
                                                                                    on the
                                                                                       the exchange
                                                                                           exchange
     Rubicon.
     Rubicon.


     Rubicon
     Rubicon




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HIGHLY CONFIDENTIAL                                                                                                       GOOG-DOJ-AT-02512857
                                                                                                                          GOOG-D0J-AT-02512857

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                                                          Rubicon
                                                          Rubicon
                 140
                           |




                  2
                 80
     frequency

                 60
                  |
                 40
                 20




                                  I                             T                 T         l
                               0.6           OF              0.8                0.9       1.0

                                                         Bid multiplier
                                                         Bid multiplier




     Cross-validation
     Cross-validation

     Mean
     Mean squared
          squared error
                  error =
                        = 1.1,
                          1.1, bias
                               bias =
                                    = 4%
                                      4%                                                                               | Commented
                                                                                                                         Commented [14]:
                                                                                                                                    [14]: why
                                                                                                                                          why is
                                                                                                                                              is this
                                                                                                                                                 this aa good
                                                                                                                                                         good accuracy
                                                                                                                                                              accuracy metric?
                                                                                                                                                                       metric? ]
                                                                                                                        Commented [15]:
                                                                                                                        Commented        [15]: itit sets
                                                                                                                                                    sets a  a benchmark,
                                                                                                                                                               benchmark. itsit's not
                                                                                                                                                                                  not bad
                                                                                                                                                                                      bad inin
                                                                                                                        accuracy +
                                                                                                                        accuracy   + it
                                                                                                                                     it seems
                                                                                                                                        seems to    to work
                                                                                                                                                       work wellwell in
                                                                                                                                                                     in experiments.
                                                                                                                                                                        experiments. ForFor
                                                                                                                        future launches,
                                                                                                                        future launches, whenwhen we   we areare adding
                                                                                                                                                                  adding features,
                                                                                                                                                                          features, wewe can
                                                                                                                                                                                          can
                 3.0




                                 .                                                                                      check this
                                                                                                                        check  this metric
                                                                                                                                    metric to to see
                                                                                                                                                   see ifif quality
                                                                                                                                                             quality improves
                                                                                                                                                                     improves
                       4                                                                                                 Commented [16]:
                                                                                                                         Commented  [16]: fix
                                                                                                                                          fix the
                                                                                                                                              the label
                                                                                                                                                  label
                 2.5
     frequency




                                      i,ti rI u 4S B ,                                e
                                                                     1,   e




                 °
                 a
                                         T                    T                   T
                                      500000
                                      500000             1000000
                                                         1000000              1500000
                                                                              1500000

                                                  Prediction error
                                                  prediction error




         22.. How
              How frequently
                   frequently is
                              is the
                                 the model
                                     model updated?
                                           updated?
     Daily. Borgcron
     Daily.  Borgcron here.
                       here.

         3.. What
         3   What isis the
                       the metric for evaluating
                           metric for evaluating model
                                                 model quality?
                                                       quality?
     Increase in
     Increase  in surplus.
                  surplus.




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                                                                                                                                        GOOG-D0J-AT-02512858

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         4. Are
         4.  Are the
                  the models
                      models versioned?
                               versioned?
     Yes. Subscript
     Yes.  Subscript vX
                      vX to
                         to the
                            the model
                                 model file
                                       file names.
                                            names.



     Serving
     Serving
         1. How
         1. Howisis the
                      the model served?
                          model served?
     Experiment file.
     Experiment file.

        2.. How
        2   How does
                   does the
                        the model
                            model get
                                  get updated
                                      updated in
                                              in serving?
                                                 serving?
     Dynamic files.
     Dynamic  files.

        3.. In
        3    In case
                 case of
                       of production
                           production issues,
                                         issues,
     We can
     We  can easily
               easily roll
                      roll itit back
                                back using
                                     using an
                                            an older
                                                older experiment
                                                      experiment file.
                                                                 file.

          4.. Are
          4         there magic
               Are there  magic constants
                                 constants involved
                                            involved inin serving
                                                           serving (such
                                                                    (such as
                                                                           as thresholds)?
                                                                               thresholds)?
     If the
     If the surplus
             surplus change
                      change is
                              is under
                                 under 10%,
                                        10%, we
                                              we don't
                                                  don’t apply
                                                          apply aa bid
                                                                   bid multiplier
                                                                        multiplier



     Monitoring
     Monitoring
          1. Which
         1.  Which group
                   group is
                         is responsible
                            responsible for
                                        for monitoring?
                                            monitoring?
     gtrade. gtrade-core
     gtrade. gtrade-core@google.com
                          google.com                                                                                                          Commented [17]:
                                                                                                                                              Commented    [17]: is
                                                                                                                                                                 is there
                                                                                                                                                                    there aa pager
                                                                                                                                                                             pager on
                                                                                                                                                                                   on call
                                                                                                                                                                                      call rotation
                                                                                                                                                                                           rotation set
                                                                                                                                                                                                    set
                                                                                                                                              up for
                                                                                                                                              up for this?
                                                                                                                                                     this?

                                                                                                                                              Commented [18]:
                                                                                                                                              Commented     [18]: and
                                                                                                                                                                  and how
                                                                                                                                                                       how many
                                                                                                                                                                            many people
                                                                                                                                                                                 people are
                                                                                                                                                                                        are                                |
         2.. (This
         2   (This is is not
                          not an   an exhaustive
                                       exhaustive list)
                                                      list) Are
                                                             Are there
                                                                    there alerts
                                                                           alerts for
                                                                                    for                                                       responsible for fixing these problems?
                                                                                                                                              responsible for fixing these problems?

                   a. Training
                   a.    Training data   data looks
                                                looks bad
                                                        bad and/or
                                                               and/or incomplete:
                                                                         incomplete: Yes  Yes                                                 Commented [19]:
                                                                                                                                              Commented        [19]: itit will
                                                                                                                                                                          will be be Tim
                                                                                                                                                                                      Tim for
                                                                                                                                                                                            for thethe most
                                                                                                                                                                                                       most part
                                                                                                                                                                                                               part
                              i‘ .        ;             i                                                                                     unless he
                                                                                                                                                      he is
                                                                                                                                                          is not
                                                                                                                                                             not available,
                                                                                                                                                                  available, then   then ii'llll handle
                                                                                                                                                                                                 handle it.
                                                                                                                                                                                                          it. We
                                                                                                                                                                                                              We don't
                                                                                                                                                                                                                   don't
                                                                                                                                              unless
                            I
                                       min  # advertiser
                                       min # advertiser                                                                                       have a
                                                                                                                                              have  a pager
                                                                                                                                                      pager forfor the
                                                                                                                                                                   the analyst
                                                                                                                                                                          analyst team team (yet),
                                                                                                                                                                                                 (yet), but
                                                                                                                                                                                                        but I| heard
                                                                                                                                                                                                               heard
                            ii.
                            ii.        min## exchanges
                                       min      exchanges                                                                                     Bahareh is
                                                                                                                                              Bahareh   is working
                                                                                                                                                            working on   on it.
                                                                                                                                                                              it.
                           iii. © Min  Min # # background
                                                background experiments
                                                                  experiments                                                                 Commented [20]:
                                                                                                                                              Commented [20]: Add
                                                                                                                                                              Add varzs
                                                                                                                                                                  varzs in
                                                                                                                                                                        in serving
                                                                                                                                                                           serving
                           iv.
                           iv.         Min #
                                       Min   #impressions
                                               impressions in     in the
                                                                      the previous
                                                                           previous day's
                                                                                        day’s data
                                                                                               data
                            v.
                            v.         Min value-added
                                       Min   value-added in     in the
                                                                    the previous
                                                                         previous day's
                                                                                      day’s data
                                                                                             data
                    b. Trained
                   b.    Trained models  models have
                                                   have poorpoor quality:
                                                                   quality: Yes.
                                                                              Yes. cross-validation
                                                                                     cross-validation error
                                                                                                          error is
                                                                                                                 is checked
                                                                                                                     checked before
                                                                                                                              before
                         model
                         model is     is pushed.
                                          pushed.
                         Trained models
                   c. Trained            models areare tootoo different
                                                               different from
                                                                           from the
                                                                                  the last
                                                                                        last iteration:
                                                                                             iteration: Yes
                                                                                                         Yes
                  a9




                         Models are
                   d. Models            are stale
                                             stale -- yes,    email alerts
                                                      yes, email       alerts
                         Jobs failures
                   e. Jobs          failures (job
                                               (job down,
                                                     down, borgcron
                                                                borgcron overrun,
                                                                             overrun, borgcron
                                                                                          borgcron failures)-- yes,     email alerts
                                                                                                                   yes, email alerts   _-—{ Commented
                                                                                                                                            Commented [21]:
                                                                                                                                                      [21]: how
                                                                                                                                                            how bad
                                                                                                                                                                bad are
                                                                                                                                                                    are stale
                                                                                                                                                                        stale models?
                                                                                                                                                                              models?                                      ]
                  -™=O




                         Server side
                   f. Server           side monitoring
                                              monitoring (see (see productionisation
                                                                      productionisation guideguide for
                                                                                                     for suggestion)
                                                                                                         suggestion)                          Commented [22]:
                                                                                                                                              Commented [22]: I'm
                                                                                                                                                              I'm not
                                                                                                                                                                  not terribly
                                                                                                                                                                      terribly worried
                                                                                                                                                                               worried
         3.. Is
         3   Is there
                 diene a  a playbook
                                playbook describing
                                              describing how  how to to handle
                                                                        handle thethe different
                                                                                        different types
                                                                                                   types ofof alert?
                                                                                                              alert?
              No
             No                                                                                                                        _-—{ Commented
                                                                                                                                            Commented [23]:
                                                                                                                                                      [231: why
                                                                                                                                                            why not?
                                                                                                                                                                not?                                                       |
                                                                                                                                              Commented [24]:
                                                                                                                                              Commented [24]: Happy
                                                                                                                                                              Happy to
                                                                                                                                                                    to add
                                                                                                                                                                       add it
                                                                                                                                                                           it


     Production Readiness
     Production Readiness
        1. How
        1.  How are
                  are PCRs
                       PCRs handled?
                              handled?
     We can
     We can easily
             easily switch
                     switch to
                            to other
                               other clusters
                                     clusters with
                                              with placer
                                                   placer deployment.
                                                          deployment.




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                                                                                                                                                               GOOG-D0J-AT-02512859

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